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Counsel for Plaintiff Colin Thomas


UNITED STATES DISTRICT COURT
DISTRICT OF ALASKA


 COLIN THOMAS,

                               Plaintiff,                    Docket No. 3:19-cv-00227-HRH

        - against -                                          JURY TRIAL DEMANDED


         TROOPER, LLC
 SCOOPER TROOPPER, LLC

                                Defendant.


                                            COMPLAINT

       Plaintiff Colin Thomas (“Thomas” or “Plaintiff”) by and through his undersigned

counsel, as and for his Complaint against Defendant Scooper Trooper, LLC (“Scooper” or

“Defendant”) hereby alleges as follows:

                                 NATURE OF THE ACTION

       1.      This is an action for copyright infringement under Section 501 of the Copyright

Act. This action arises out of Defendant’s unauthorized reproduction and public display of a

copyrighted photograph of a dog with a bone, owned and registered by Thomas, a professional

photographer. Accordingly, Thomas seeks monetary relief under the Copyright Act of the United

States, as amended, 17 U.S.C. § 101 et seq.

                               JURISDICTION AND VENUE




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       2.      This claim arises under the Copyright Act, 17 U.S.C. § 101 et seq., and this Court

has subject matter jurisdiction over this action pursuant to 28 U.S.C. §§ 1331 and 1338(a).

       3.      Upon information and belief, this Court has personal jurisdiction over Defendant

because Defendant resides and/or transacts business in Alaska and is registered with the Alaska

Department of State Division of Corporations.

       4.      Venue is proper in this District pursuant to 28 U.S.C. § 1391(b).

                                           PARTIES

       5.      Thomas is a professional photographer in the business of licensing his

photographs to online and print media for a fee having a usual place of business at 6 Burlington

Lodge Studios, 48 Rigault Road, London, England SW6 4JJ, United Kingdom.

       6.      Upon information and belief, Scooper is a domestic limited liability company

organized and existing under the laws of the State of Alaska, with a place of business at 13910

Venus Way, Anchorage, Alaska 99515. Upon information and belief, Scooper is registered with

the Alaska State Department of Corporations to do business in Alaska. At all times material

hereto, Scooper has owned and operated a website at the URL: www.ScooperTropper.com (the

“Website”).

                                  STATEMENT OF FACTS

       A.      Background and Plaintiff’s Ownership of the Photograph

       7.      Thomas photographed a dog with a bone (the “Photograph”). A true and correct

copy of the Photograph is attached hereto as Exhibit A.




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       8.      Thomas is the author of the Photograph and has at all times been the sole owner

of all right, title and interest in and to the Photograph, including the copyright thereto.

       9.      The Photograph was registered with United States Copyright Office and was

given Copyright Registration Number VAu 1-156-391.

       B.      Defendant’s Infringing Activities

       10.     Scooper ran the Photograph on the Website. See:

http://scoopertrooper.com/specials-winter/. A screenshot of the Photograph on the Website is

attached hereto as Exhibit B.

       11.     Scooper did not license the Photograph from Plaintiff for its Website, nor did

Scooper have Plaintiff’s permission or consent to publish the Photograph on its Website.

                               CLAIM FOR RELIEF
                    (COPYRIGHT INFRINGEMENT AGAINST DEFENDANT)
                               (17 U.S.C. §§ 106, 501)

       12.     Plaintiff incorporates by reference each and every allegation contained in

Paragraphs 1-11 above.

       13.     Scooper infringed Plaintiff’s copyright in the Photograph by reproducing and

publicly displaying the Photograph on the Website. Scooper is not, and has never been, licensed

or otherwise authorized to reproduce, publically display, distribute and/or use the Photograph.

       14.     The acts of Defendant complained of herein constitute infringement of Plaintiff’s

copyright and exclusive rights under copyright in violation of Sections 106 and 501 of the

Copyright Act, 17 U.S.C. §§ 106 and 501.




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       15.     Upon information and belief, the foregoing acts of infringement by Scooper have

been willful, intentional, and purposeful, in disregard of and indifference to Plaintiff’s rights.

       16.     As a direct and proximate cause of the infringement by the Defendant of

Plaintiff’s copyright and exclusive rights under copyright, Plaintiff is entitled to damages and

Defendant’s profits pursuant to 17 U.S.C. § 504(b) for the infringement.

       17.     Alternatively, Plaintiff is entitled to statutory damages up to $150,000 per work

infringed for Defendant’s willful infringement of the Photograph, pursuant to 17 U.S.C. § 504(c).

       18.     Plaintiff further is entitled to his attorney’s fees and full costs pursuant to

17 U.S.C. § 505.

                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiff respectfully requests judgment as follows:

       1.      That Defendant Scooper be adjudged to have infringed upon Plaintiff’s copyrights

               in the Photograph in violation of 17 U.S.C §§ 106 and 501;

       2.      That Plaintiff be awarded either: a) Plaintiff’s actual damages and Defendant’s

               profits, gains or advantages of any kind attributable to Defendant’s infringement

               of Plaintiff’s Photograph; or b) alternatively, statutory damages of up to $150,000

               per copyrighted work infringed pursuant to 17 U.S.C. § 504;

       3.      That Defendant be required to account for all profits, income, receipts, or other

               benefits derived by Defendant as a result of its unlawful conduct;




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       4.      That Plaintiff be awarded his costs, expenses and attorneys’ fees pursuant to 17

               U.S.C. § 505;

       5.      That Plaintiff be awarded pre-judgment interest; and

       6.      Such other and further relief as the Court may deem just and proper.

                                 DEMAND FOR JURY TRIAL

       Plaintiff hereby demands a trial by jury on all issues so triable in accordance with Federal

Rule of Civil Procedure 38(b).

Dated: Valley Stream, New York
       August 19, 2019
                                                            LIEBOWITZ LAW FIRM, PLLC
                                                            By: /s/Richard Liebowitz
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